                         United States District Court
                       Western District of North Carolina
                              Charlotte Division

  Keyetta Roshaniqua Monta Corbitt,                  JUDGMENT IN CASE

              Petitioner                           3:24-cv-01127-KDB-DCK

                 vs.

   Mecklenburg County Courthouse,

             Respondent.



DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s December 31, 2024 Order.



                                               Signed: December 31, 2024




    Case 3:24-cv-01127-KDB-DCK        Document 4      Filed 12/31/24   Page 1 of 1
